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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

CHANTE C. LEE, AS PARENT AND NEXT

FRIENDS OF M.L., A MINOR

PLAINTIFFS, CASE NO. 18-2786 (CKK)

V.

SEED PUBLIC CHARTER SCHOOL OF
WASHINGTON, D.C.

DEFENDANT.

 

 

ORDER APPROVING SETTLEMENT ON BEHALF OF M.L,

This matter is before the Court on the Joint Motion for Leave to File Joint Motion for Court
Approval of a Settlement Involving a Minor and to Fund a Structured Settlement Under Seal [63]
which attached the Joint Motion for Court Approval of a Settlement Involving a Minor and to Fund
a Structured Settlement as Exhibit I [63-2]. The Court has also reviewed the corresponding
“Settlement Agreement and Release” and “Addendum which were attached to the Joint Motion for
Court Approval of a Settlement Involving a Minor and to Fund a Structured Settlement as well as
the Joint Status Report and the trust agreement [66]. The complete and precise terms and conditions
of the settlement are set forth in the Settlement Agreement and Release and its Addendum

(hereinafter “Agreement”.

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The Court is fully informed of the specifics of the full and final terms and conditions of the
settlement. The Court finds that the terms and conditions of this settlement, as set forth in the

Agreement, are fair, reasonable, and in the best interests of M.L.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Joint Motion
for Court Approval of a Settlement Involving a Minor and to Fund a Structured Settlement, is
hereby GRANTED.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Agreement, as
set forth in Exhibit 1 to the Joint Motion for Court Approval of a Settlement Involving a Minor
and to Fund a Structured Settlement, is hereby approved and as of the date of this Order is valid
and enforceable.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that this case will
remain open and stayed in full so the Parties can comply with Sections 3.1 and 11 of the
Agreement.

IT IS FURTHER ORDERED that Chante Lee is authorized to sign any documents that are
necessary to consummate this settlement on behalf of M.L., and to provide any information and
documentation necessary to consummate and pay the settlement.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the settlement amount
of $225,000.00 (USD) (Two Hundred Twenty-Five Thousand U.S. Dollars) (hereinafter "the
Settlement Proceeds") as compensation to Plaintiffs with a combination of immediate cash and the

funding of future periodic shall be distributed according to the terms and conditions of the

 
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Agreement. With respect to the immediate cash that will be made payable to the named Plaintiffs
pursuant to the Agreement, the Court hereby Orders Chante Lee to endorse said check over to
the Law Office of Lawrence Manley firm to be deposited into the attorney’s client trust account to
be used to pay the collective attorney’s fees, costs, and expenses herein approved and to pay any
lien or claim for reimbursement.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that attorney’s fees in this
action, in the amount of $90,000.00 (Ninety Thousand Dollars), pursuant to the plaintiffs’ retainer
agreement, attorney fees of forty percent (40%) of the Settlement Amount shall be paid from the
immediate cash payments set forth in Paragraph 3.1 of the Agreement. The Court finds that the
costs and expenses associated with the litigation are $13,000 and that such costs and expenses are

fair, reasonable, and necessary, and

IT IS FURTHER ORDERED that such costs, expenses, and fees are approved and are to
be paid as provided in Paragraph 3.1 of the Agreement. The Court finds that Plaintiffs are legally
responsible for all past, present, and future liens or claims for payment or reimbursement, including
any liens or claims for payment or reimbursement by Medicaid, Medicare, or healthcare providers.
The Court hereby Orders Plaintiffs, by and through their attorneys, to satisfy or resolve all such
past, present, and future liens or claims for payment or reimbursement asserted by any individual
or entity, including Medicaid and Medicare, arising from the subject matter of this action, The
Court further Orders that Plaintiffs, by and through their attorneys, shall provide to the Defendant’s
counsel the information required by the Agreement regarding the satisfaction or resolution of such

liens or claims for payment or reimbursement within the time specified in said Agreement.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that within five (5)
consecutive calendar days after Plaintiffs receive the funds set forth in Section 3.1 of the

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Agreement, Plaintiffs’ counsel will notify SEED Defendants’ counsel of receipt. Upon receipt of
notification of Plaintiffs’ counsel, SEED Defendants’ counsel will file the Joint Stipulation of
Dismissal with Prejudice in this case attached as Exhibit A to the Agreement. Plaintiffs shall
endorse said check over to the Law Office of Lawrence Manley firm to be deposited in the
attorney’s client trust account to facilitate the disbursement of the immediate cash payment as
authorized by this Order. Subject to the terms and conditions of the Agreement, Plaintiffs’
attorneys shall distribute said immediate cash payment to the Plaintiffs after paying attorney’s fees,
costs, and expenses authorized by this Order and after paying or resolving any currently known
lien or claim for reimbursement or payment for which Plaintiffs have agreed to be legally
responsible under the terms of the Agreement. Plaintiffs and their attorneys shall take appropriate

steps to comply with applicable state law governing the transfer of all funds for minor M.L. into a

fiduciary account.

IT IS SO ORDERED.

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e COLLEEN KOLLAR-KOTELLY ’
United States District Judge

Copies to:
All Parties of Record

 

 
